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  IT IS HEREBY ADJUDGED and DECREED that the
  below described is SO ORDERED.


  Dated: December 11, 2023.

                                                  __________________________________
                                                          SHAD M. ROBINSON
                                                  UNITED STATES BANKRUPTCY JUDGE
  __________________________________________________________________
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